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                           UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF RHODE ISLAND

IN RE:          LaSALLE HEALTH SERVICE, INC.                  Chapter 7
                                                              BK No. 15-11488
                        Debtor

                         TRUSTEE’S STATUS REPORT APRIL 2018

         Charles A. Pisaturo, Jr., the chapter 7 trustee in the above captioned case, hereby submits

the following as his Status Report (Updates since February 28, 2018 Status Hearing are in

bold and underlined):

         1.     The debtor was a supplier of medical equipment. It operated out of several

locations. It closed in May, 2015 and filed a chapter 7 petition on July 29, 2015. The

undersigned is the chapter 7 trustee.

         2.     The trustee took control of the debtor’s assets (cash on hand, accounts receivable

and inventory). The trustee sold the debtor’s remaining inventory from its North Attleboro

warehouse at auction, paid several priority chapter 7 administrative claims with this Court’s

approval and paid a secured creditor.

         3.     The trustee has on hand the sum of $30,811.77.

         4.     On November 28, 2017, the Court sustained the trustee’s objection to claim

number 1.

         5.     On January 31, 2018, the trustee received solicitation from Oakpoint Partners, an

entity with offices in Chicago and New York that purchases so called “Remnant assets” of

bankruptcy case. Oakpoint made an offer to the trustee to buyout any remnant assets of this

estate. The trustee is reviewing the offer, since it is possible that this proposal may provide

additional net funds to the bankruptcy estate.

         The Offer is for $5,000.
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       6.        On or about February 21, 2018 the trustee submitted to the Massachusetts

General Treasurer’s Office (“Unclaimed Property Division”) a claim for unclaimed

property of the debtor. The unclaimed property consisted of multiple uncashed insurance

checks payable to the debtor, most in small amounts (less than $100.00 each). The total of

all of the unclaimed funds was $3,233.52. The trustee was recently notified by the

Massachusetts Unclaimed Property Division that a submission for unclaimed funds has

been processed and approved and that the trustee can expect a distribution in the next

several weeks.

       7.        The trustee plans to continue his discussions with the remnant assets buyer

and may either a motion to approve a remnant sale or otherwise a final report within sixty

(60) days.

April 30, 2018                                 /s/Charles A. Pisaturo, Jr.
                                               CHARLES A. PISATURO, JR. (REG NO. 4615)
                                               Trustee
                                               Law Offices of Charles A. Pisaturo, Jr.
                                               1055 Elmwood Avenue
                                               Providence, RI 02907
                                               TEL: (401) 274-3800
                                               FAX: (401) 751-6786

                                 CERTIFICATE OF SERVICE

        I hereby certify that on the 30th day of April, 2018, I served by electronic filing (ECF), or
by first-class mail, postage pre-paid, a true copy of the within TRUSTEE’S STATUS REPORT
to the following parties: Gary L. Donahue, Esq., Assistant U.S. Trustee, Thomas P. Quinn, Esq.,
Donald L. Phillips, Esq.:

Craig R Jalbert
Verdolino & Lowey PC
124 Washington Street
Foxboro, MA 02035

Max Pollock & Co.
732 Plainfield Street
Providence, RI 02909
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State of RI - Division of Taxation
RI Division of Taxation
Bankruptcy Unit
One Capitol Hill
Providence, RI 02908-5800

                                             /s/ Jennifer Peters
                                             Jennifer Peters
                                             Law Offices of Charles A. Pisaturo, Jr.
                                             1055 Elmwood Avenue
                                             Providence, RI 02907
